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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 SBI CRYPTO CO., LTD.,

        Plaintiff,

                 v.                             Civil Action No.: 6:23-cv-252

 WHINSTONE US, INC.,

        Defendant.


            ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL

       Before the Court is Plaintiff SBI Crypto Co., Ltd.’s (“SBI”) Motion to Compel

Discovery from Defendant filed September 23, 2024. Having considered the Motion,

argument of the parties, and applicable law, the Court finds that the Motion should be

and hereby is GRANTED. It is therefore

       ORDERED that Defendant Whinstone US, Inc.’s objections to SBI’s Interrogatory

No. 4 and Request for Production Nos. 19, 21, 22, 27, 28, 29, 37, 38, 40, 41, 42, 44, 45, 60,

72, 78, 79, 81, and 82 are overruled. It is further

       ORDERED that Defendant Whinstone US, Inc. is ordered to (i) provide a full and

complete answer to SBI’s Interrogatory No. 4; and (ii) produce and deliver to SBI’s

counsel all documents, in its possession, custody or control, that are responsive to SBI’s

Request for Production Nos. 19, 21, 22, 27, 28, 29, 37, 38, 40, 41, 42, 44, 45, 60, 72, 78,

79, 81, and 82 within seven (7) days following the date of this Order.

       Signed:                      , 2024.




                                                  JUDGE PRESIDING


ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL                                     SOLO PAGE
